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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-6945 MRW Date November 5, 2020

 

Title Pro-Com Products, Inc. v. Botkin and Hall, LLP

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None present None present
Proceedings: ORDER TO SHOW CAUSE RE: DISMISSAL OF UNSERVED CIVIL
ACTION

Plaintiff filed this civil action on July 31, 2020. The case was randomly assigned to
Judge Wilner through the Court’s Magistrate Judge Direct Assignment Program.
Pursuant to Federal Rule of Civil Procedure 4(m), Plaintiff was required to serve process in this
action within 90 days of commencement of the action, or by October 29, 2020. On August 25,
2020, the Court issued an order regarding service. In Plaintiff's statement to the Court, an
amended complaint and a proof of service will be filed. (Docket # 10)]. However, according to
the Court’s review of the docket, no amended complaint or proof of service has been filed in the
action yet, and no defendant has appeared in the action to date.

Plaintiff is ORDERED to show cause why the action should not be returned to the civil

wheel for reassignment to a District Judge with a recommendation that it be dismissed for
failure to prosecute. Plaintiff's response to this OSC will be due by November 19, 2020.

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